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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON



  UNITED STATES OF AMERICA,                       Case No. 3:20-cr-00458-HZ

                                Plaintiff,
                                                  MOTION TO DISMISS INDICTMENT
                    v.
                                                  Oral Argument Requested
  MEGANNE ELIZABETH ENGLICH-
  MILLS,

                              Defendant.
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Introduction

       The defendant, Meganne Englich-Mills, through counsel, moves the Court pursuant to Rule

12(b) of the Federal Rules of Criminal Procedure to dismiss the indictment as failing to state a

valid offense and violating an array of constitutional protections. The defendant is transgender and

goes by the name Mikal Faust and will be referred to as Mr. Faust in this motion. The indictment

charges a violation of 18 U.S.C. § 231(a)(3), a seldom-invoked section of the criminal code

authored by legislators to counter the protections of the Civil Rights Act and to silence civil rights

leaders in 1968. That statute broadly prohibits an array of conduct deemed to interfere with law

enforcement officers performing duties “incident to or during the commission of a civil disorder.”

The indictment suffers multiple defects requiring dismissal.

       First, § 231(a)(3) exceeds Congress’s Commerce Clause authority by reaching purely

intrastate interactions between individuals and local law enforcement officers that have always

been the province of the States. Although the statutory language requires the existence of a “civil

disorder” that affects commerce “in any way or degree,” it does not require any causal nexus

between the defendant’s prohibited act and the purported commercial impact, nor does it require a

substantial effect on commerce. No construction of the statute avoids constitutional infirmity under

the reasoning of United States v. Lopez, 514 U.S. 549 (1995), and United States v. Morrison, 529

U.S. 598 (2000).

       Second, as illuminated by the statute’s origins, § 231(a)(3) is a content-based restriction on

expression. Because of its broad reach and lack of legitimate federal interest in controlling local

matters, the prohibition fails strict scrutiny and violates the First Amendment.

       Third, the statute is also unconstitutionally vague in violation of the Fifth Amendment’s

Due Process Clause because it employs imprecise terms in defining the federal crime, providing

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both inadequate notice of the conduct prohibited and leaving insufficient guidance to avoid

arbitrary and discriminatory enforcement.

        Finally, the boilerplate allegations in the indictment violate both the presentment and notice

functions of grand jury indictments under the Fifth and Sixth Amendments and Rule 7(c) of the

Federal Rules of Criminal Procedure.

        Based on each of these grounds, separately and cumulatively, the Court should dismiss the

indictment.

Relevant Statutory History and Factual Background

        The indictment against Mr. Faust charges a violation of 18 U.S.C. § 231(a)(3), entitled

Civil Disorders:

        (3) Whoever commits or attempts to commit any act to obstruct, impede, or
        interfere with any fireman or law enforcement officer lawfully engaged in the
        lawful performance of his official duties incident to and during the commission of
        a civil disorder which in any way or degree obstructs, delays, or adversely affects
        commerce or the movement of any article or commodity in commerce or the
        conduct or performance of any federally protected function--

        Shall be fined under this title or imprisoned not more than five years, or both.

18 U.S.C. § 231(a)(3). The facts relevant to this motion to dismiss include both the unique history

of the statute’s passage to quell civil rights protests in the late 1960s and its rare application, after

decades of disuse, in the context of Portland’s protests for racial justice.

        A.      The Primary Proponent Of The Civil Obedience Act of 1968 Intended It To
                Neutralize Specific Civil Rights Leaders And Silence Civil Rights Advocacy.

        Section 231(a)(3) is one of three criminal offense provisions included under the Civil

Obedience Act of 1968 (Pub. L. 90-284, April 11, 1968, Title X; codified at 18 U.S.C.

§§ 231(a)(1)-(3)), which the Senate originally adopted as an amendment to the Civil Rights Act of

1968. See Exhibit A (114 Cong. Rec. 1287-97 (Jan. 29, 1968)) (proposed); Exhibit B (114 Cong.

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Rec. 5529-5550 (Mar. 6, 1968)) (adopted).1 Senator Russell B. Long of Louisiana was the author

and primary proponent of the Civil Obedience Act, which became “known popularly as the Long

amendment.” Exhibit F at 144 (House Committee on Rules, Consideration of H.R. 2516:

Disagreeing to Senate Amendments and Sending the Bill to Conference, April 8, 1968).

         Senator Long “consistently opposed any legislation designed to improve the lot of blacks

in the South” during his four decades in Congress.2 In a Senate hearing in 1960, Senator Long

made his support for racial apartheid clear, stating: “The colored man should be asked to

understand that we believe that members of each race should go with their own kind, marry their

own kind, and live with their own kind.” Exhibit G at 3 (106 Cong. Rec. 4183 (Mar. 2, 1960)).

During a hearing in 1964, Senator Long expressed his view that the civil rights movement showed

ingratitude for the benefits the American system of chattel slavery conferred upon the descendants

of the enslaved:




Exhibit H at 3 (110 Cong. Rec. 7903 (Apr. 14, 1964)).




         1
         The documents comprising the Civil Obedience Act’s legislative history are submitted
separately as Exhibits in Support of Motion to Dismiss.
         2
             Michael S. Martin, Russell Long: A Life in Politics, University Press of Mississippi, 2014,
at 76.


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       As the Senate debated the Civil Rights Act of 1968, Senator Long proposed the Civil

Obedience Act as a rejoinder to both the civil rights bill and to the civil rights movement. Exhibit

A at 8-10 (114 Cong. Rec. 1294-96 (Jan. 29, 1968)). In Senate hearings between January and

March of 1968, Senator Long expressed three related purposes that his amendment aimed to fulfill.

       First, Senator Long wanted the Civil Obedience Act to nullify the legal protections

proposed under the “hate crime” title of the Civil Rights Act of 1968. That title, which was

ultimately enacted and codified at 18 U.S.C. § 245, authorized criminal penalties for interfering

with another person because of the person’s race or because the person engaged in a federally

protected activity. Senator Long critiqued the hate crime law at length directly before he first

presented his amendment in a Senate hearing on January 29, 1968. Exhibit A at 1-8 (114 Cong.

Rec. 1287-94 (Jan. 29, 1968)). He said his “greatest immediate concern” about the hate crime law

was “the unwitting stumbling block it could place before State and local officials in their honest

attempts to detain and prosecute incendiary rabble rousers.” Id. at 3 (114 Cong. Rec. 1289). He

complained that “half of the Baton Rouge Police Force could have been thrown into jail” under

the hate crime law for beating and setting attack dogs on peaceful demonstrators in the incident

that precipitated Cox v. Louisiana, 379 U.S. 536 (1965). Id.

       Senator Long offered his Civil Obedience Act as the solution:




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Exhibit A at 11 (114 Cong. Rec. 1297 (Jan. 29, 1968)). Thus, Senator Long proposed the Civil

Obedience Act in order to protect individuals whose actions meet the criteria of a hate crime, and,

in turn, to prosecute the classes of individuals whose rights are protected under the hate crime law.

       Second, the Civil Obedience Act was designed to jail and silence specific civil rights

leaders whose names Senator Long repeated throughout the amendment’s legislative history. See,

e.g., Exhibit C at 1-3 (114 Cong. Rec. 544-546 (Jan. 22, 1968)), Exhibit A at 9-12 (114 Cong. Rec.

1294-97 (Jan. 29, 1968)), Exhibit D at 1 (114 Cong. Rec. 1817 (Feb. 1, 1968)), Exhibit B at 3-6

(114 Cong. Rec. 5533-5536 (Mar. 6, 1968)). Senator Long traced the need for his amendment to

“a so-called civil rights march led by Dr. Martin Luther King in the streets of Birmingham in

March of 1963.” Exhibit A at 8 (114 Cong. Rec. 1294 (Jan. 29, 1968)). He noted that during the

march, Dr. King had “addressed a tense crowd with inflammatory words” and that, from the

Birmingham jail, Dr. King “wrote an inflammatory letter which gained wide recognition in its

pleas for Negroes to disobey those laws they felt unjust.” Id. Senator Long credited Dr. King’s

letter from the Birmingham Jail as having directly caused “the ultimate in lawlessness, wanton

killing, and senseless, destructive rioting.” Id. Senator Long wondered how the Nobel Peace Prize

could be awarded to Dr. King, “a man who start[ed] a drive to put the great cities of America to

the torch by urging people to disobey laws.” Id. He compared Dr. King’s societal influence to “a

single diseased cell” which “develops into a killing cancer.” Id.

       Senator Long also targeted Stokely Carmichael and H. Rap Brown, two prominent Black

civil rights leaders who had each served as chairmen of the influential Student Nonviolent

Coordinating Committee following the tenure of Representative John Lewis. While calling his




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amendment for a vote, Senator Long urged his colleagues to “do something about” Brown and

Carmichael:




Exhibit B at 6 (114 Cong. Rec. 5536 (Mar. 6, 1968)). Senator Long stated that the Civil Obedience

Act would apply to intrastate conduct so that it would “not leave available to Rap Brown or Stokely

Carmichael the technical defense that they did not cross the State boundary with the intent to create

a riot.” Id. at 3 (114 Cong. Rec. 5533). Senator Gary Hart of Colorado called out the improper

targeting, worrying that under Long’s rationale, the Senate would “not be legislating . . . out of

prudence,” but rather would “be legislating in retaliation against Carmichael and Brown.” Id. at

10 (114 Cong. Rec. 5540).

       Third, Senator Long promoted the Civil Obedience Act as a means to suppress civil rights

advocacy generally. Senator Long claimed that his proposal would “strike at” the “doctrine . . .

that one should not obey the laws that stand in the way of alleged ‘civil rights.’” Exhibit A at 9

(114 Cong. Rec. 1295 (Jan. 29, 1968)). He claimed this message was inflammatory and had “in

large measure brought on all these riots and presented the need for action.” Id. He wished to

prevent speakers from “stirring up our fine citizens . . . and giving the wrong idea that everyone is

trying to do something evil to them because they are of a different race.” Exhibit C at 1 (114 Cong.

Rec. 544 (Jan. 22, 1968)). He contended that “the people want us to pass a law” to stop civil rights

activists from “going around accusing all the American people of being a bunch of murderers and

assassins, which we are not, accusing us of being international criminals, which we are not.”

Exhibit D at 1 (114 Cong. Rec. 1817 (Feb. 1, 1968)). Because Senator Long believed that criticism

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of white supremacy and demands for racial justice were bound to cause riots, he proposed the Civil

Obedience Act as a tool to suppress such expression.

       Congress adopted the Civil Obedience Act in a rushed process with little deliberation,

leaving the comments of Senator Long, as its proponent, the primary evidence of congressional

intent. The amendment never faced scrutiny in any Senate committee prior to its proposal, and

senators were called to a vote only five weeks after its introduction. See Exhibit B at 1 (114 Cong.

Rec. 5531 (Mar. 6, 1968)). Senator Hart criticized the legislative process by which a “series of six

or seven amendments, none of which, I think, any Senators have seen, . . . will be offered in

succession.” Id. at 5 (114 Cong. Rec. 5535).

       The Senate voted to adopt three of Senator Long’s seven proposals. See Exhibit E at 1-2

(114 Cong. Dig. 72, 81-82 (1968)). The three surviving provisions created federal crimes for: (1)

teaching the use of weapons or explosives with reason to know that the same will be used in a civil

disorder; (2) transport or manufacture of weapons or explosives for use in civil disorder; (3)

interference with the duties of a fireman or law enforcement officer incident to a civil disorder. Id.

at 1 (114 Cong. Dig. at 81); codified at 18 U.S.C. §§ 231(a)(1), (a)(2), and (a)(3).3

       The first two provisions concerning firearms and explosives were adopted together in a

single vote with support from gun control proponents. Exhibit B at 9 (114 Cong. Rec. 5539 (Mar.

6, 1968)). With respect to the third provision, which became § 231(a)(3), Senator Long told his



       3
          The proposed federal crimes included: (1) incitement of civil disorder; (2) teaching use
of weapons for civil disorder; (3) transport or manufacture of weapons or explosives for use in
civil disorder; (4) unlawful acts of violence in furtherance of civil disorder; (5) interfering with a
fireman or law enforcement officer performing duties incident to a civil disorder; (6) taking
anything of value incident to a civil disorder; (7) sniping, shooting, or throwing an object at a
motor vehicle on an interstate highway. Exhibit B at 2 (114 Cong. Rec. 5532 (Mar. 6, 1968)).


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colleagues that this provision “would make it a Federal offense for people to snipe at firemen or

shoot at policemen while they are trying to do their duty protecting lives and property.” Id. at 12

(114 Cong. Rec. 5542). After little debate and no supportive comment from any senator, the Senate

adopted § 231(a)(3) by voice vote, leaving no record of individual votes. Id. (Presiding Officer).

       After passing the Senate, the Civil Rights Act of 1968 returned to the House Rules

Committee laden with amendments. Exhibit F. Members of the Rules Committee expressed

outrage that the bill contained “matters and issues that are decidedly extraneous to the whole

question of civil rights” attributable to “enemies of civil rights legislation per se.” Id. at 34 (Rep.

John Anderson of Illinois). However, the calls for additional consideration were upended on April

4, 1968, when an assassin took Dr. King’s life and civil unrest took hold across the United States.

Thus, on April 9, 1968, the Rules Committee released the bill to the House floor for an up-down

majority vote, where the law was passed the next day—without further consideration of the

Senate’s Civil Obedience Act amendment.4

       B.       The Government Brought The Present Charge Under § 231(a)(3) In The
                Context Of A Summer Of Black Lives Matter Protests.

       On May 25, 2020, a Minneapolis police officer asphyxiated George Floyd under his knee

for eight minutes and forty-six seconds until Mr. Floyd showed no signs of life. A video of the

incident was widely shared across social media platforms to visceral public reactions of grief,

shock, and outrage. The incident exemplified the systemic racial injustices in the United States

that have degraded human dignity and caused the premature deaths of Black people since the




       4
        Marjorie Hunter, Rules Panel Clears Rights Bill for Vote in the House Today, The New
York Times, April 9, 1968, at 1.


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country’s founding.5 The video inspired public fury that cascaded into the largest protest

movement in the history of the United States.6 Data suggest that between 15 and 28 million people

braved a deadly pandemic to demand justice for George Floyd and systemic reforms for racial

justice.7

        In Portland, protests began on May 28, 2020, and continued thereafter on an almost nightly

basis for six months.8 The mostly peaceful protests called attention to the Portland Police Bureau’s

(PPB) longstanding pattern of arbitrary uses of force and racially disproportionate enforcement.9

The federal government inserted itself into these local matters by prosecuting protesters for

incidents involving protestors clashing with PPB officers. At present, the United States has charged

at least 15 individuals in the District of Oregon with felony civil disorder under § 231(a)(3) for

local incidents involving city and state police officers. All of these prosecutions have arisen from

demonstrations in support of racial justice.




        5
         See Derrick Johnson, In America, Black Deaths Are Not A Flaw In The System. They Are
The          System,           The          Guardian,          Jun.         3,          2020,
https://www.theguardian.com/commentisfree/2020/jun/03/america-black-deaths-racism.
        6
         See Larry Buchanan, et al., Black Lives Matter May Be the Largest Movement in U.S.
History,         New           York            Times,         July          3,          2020,
https://www.nytimes.com/interactive/2020/07/03/us/george-floyd-protests-crowd-size.html.
        7
            Id.
        8
         See Jayati Ramakrishnan, Protesters Take to Portland Streets Following Minneapolis
Police    Killing    of     George      Floyd,   The    Oregonian,      May      28,   2020,
https://www.oregonlive.com/news/2020/05/protesters-take-to-portland-streets-following-
minneapolis-police-killing-of-george-floyd.html.
        9
         Tim Dickinson, Portland: Progressive City, Brutal Police, Rolling Stone, Jul. 17, 2020,
https://www.rollingstone.com/politics/politics-features/portand-oregon-police-brutality-history-
1027677/


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        In the present case, PPB officers arrested Mr. Faust on September 5, 2020, on state charges

of riot, interfering with a police officer, and disorderly conduct. The arrest arose from a

confrontation between PPB officers and citizens marching in north southeast Portland in support

of racial justice and police reform. On September 8, 2020, the state decided not to proceed with

any charges against Mr. Faust. On September 24, 2020, the federal grand jury returned an

indictment charging Mr. Faust with a violation of § 231(a)(3). The indictment in this case, which

is virtually identical to other civil disorder charges brought by the federal government in this

District, states:

        On or about September 5, 2020, in the District of Oregon, during a civil disorder,
        defendant Meganne Elizabeth Englich-Mills, knowingly committed a violent act
        for the intended purpose of obstructing, impeding and interfering with a law
        enforcement officer who was lawfully engaged in the lawful performance of their
        official duties incident to and during the commission of a civil disorder, and that
        such civil disorder in any way or degree obstructed, delayed and adversely affected
        commerce and the movement of any article or commodity in commerce;

        In violation of 18 U.S.C. 231(a)(3).


Indictment, ECF 2. Mr. Faust entered a plea of not guilty and was released on conditions on

September 28, 2020.

                                          ARGUMENT

I.      Section 231(a)(3) Unconstitutionally Intrudes Into The States’ General Responsibility
        For Enforcing Criminal Laws And Exceeds Congress’s Commerce Clause Power
        Because It Criminalizes Intrastate Activity That Lacks A Substantial Nexus To
        Interstate Commerce.

        The outer limits of congressional authority under the Commerce Clause prohibit the

criminalization of noneconomic intrastate activity unless “the regulated activity ‘substantially

affects’ interstate commerce.” Lopez, 514 U.S. at 559 (emphasis added). Based on that test, the

Supreme Court has struck down the federalization of gun possession in a school zone and the

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federalization of domestic violence in the Violence Against Women Act as lacking sufficient

connection to interstate commerce. Lopez, 514 U.S. at 552-64; Morrison, 529 U.S. at 607-19.

Under Morrison and Lopez, § 231(a)(3) unconstitutionally exceeds Congress’s authority and

intrudes into the States’ primary role in general law enforcement because it broadly applies to

purely local conduct and requires only an attenuated connection to interstate commerce.

       A.      The Supreme Court’s Commerce Clause Jurisprudence Protects The Federal-
               State Balance By Prohibiting Regulation Of Intrastate Activity That Does Not
               “Substantially Affect” Intrastate Commerce.

       “Under our federal system, the States possess primary authority for defining and enforcing

the criminal law.” Lopez, 514 U.S. at 561 n. 3 (internal quotation marks omitted). Accordingly,

the Supreme Court in Lopez concluded that, in the criminal context, Congress’s “power . . . [t]o

regulate Commerce with foreign Nations, and among the several States[,]” under Article I, § 8, cl.

3, is inherently limited by the Tenth Amendment’s reservation of police power to the States. The

limited federal commerce power permits Congress to regulate only three categories of activity:

(1) “the use of the channels of interstate commerce;” (2) “the instrumentalities of interstate

commerce, or persons or things in interstate commerce;” and (3) “those activities that substantially

affect interstate commerce.” Id. (emphasis added).

       The Supreme Court developed the third Lopez category in order to define “the outer limits”

on Congress’s authority to enact legislation “regulating intrastate economic activity” that

“substantially affect[s] interstate commerce.” Lopez, 514 U.S. at 559; see also United States v.

Robertson, 514 U.S. 669, 671 (1995) (“The ‘affecting commerce’ test was developed in our

jurisprudence to define the extent of Congress’ power over purely intrastate commercial activities

that nonetheless have substantial interstate effects”) (emphasis in original). The regulated activity

must “substantially affect” interstate commerce because “[t]he regulation and punishment of

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intrastate violence that is not directed at the instrumentalities, channels, or goods involved in

interstate commerce has always been the province of the States.” Morrison, 529 U.S. at 618.

        In Morrison, the Supreme Court established a “controlling four-factor test for determining

whether a regulated activity ‘substantially affects’ interstate commerce.” United States v. Adams,

343 F.3d 1024, 1028 (9th Cir. 2003) (quoting United States v. McCoy, 323 F.3d 1114, 1119 (9th

Cir. 2003)). Those factors are:

        (1) whether the regulated activity is commercial/economic in nature; (2) whether
        an express jurisdictional element is provided in the statute to limit its reach; (3)
        whether Congress made express findings about the effects of the proscribed activity
        on interstate commerce; and (4) whether the link between the prohibited activity
        and the effect on interstate commerce is attenuated.

Adams, 343 F.3d at 1028 (citing Morrison, 529 U.S. at 610-612). “The ‘most important’ factors

for a court to consider are the first and the fourth.” Id.

        B.      Section 231(a)(3) Regulates Intrastate Activities That Do Not Substantially
                Affect Interstate Commerce For Purposes Of The Third Lopez Category.

        Section 231(a)(3) criminalizes “any act” to obstruct, impede or interfere with a local police

officer or firefighter performing lawful duties “incident to and during the commission of a civil

disorder which in any way or degree obstructs, delays, or adversely affects commerce or the

movement of any article or commodity in commerce” (emphasis added). “[C]ivil disorder” is

defined as “any public disturbance involving violence by assemblages of three or more persons,

which causes an immediate danger of or results in damage or injury to the property or person of

any other individual.” 18 U.S.C. § 232(1). Because the statute is not aimed at the channels or

instrumentalities of commerce, only the third Lopez factor is at issue. However, under the four

controlling factors described in Adams and Morrison, § 231(a)(3) does not regulate activity that

substantially affects interstate commerce. Accordingly, the statute is unconstitutional.


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                 1.      Section 231(a)(3) Does Not Regulate Economic Activity And Does Not
                         Support Any Larger Scheme Of Economic Regulations.

          As in Lopez and Morrison, the act of interfering with the duties of a law enforcement officer

or state firefighter incident to a civil disorder is not economic in nature. It therefore fails the first

Morrison factor.

          In Lopez, the Court found the activity of gun possession under the Gun-Free School Zones

Act has “nothing to do with ‘commerce’ or any sort of economic enterprise, however broadly one

might define those terms.” Lopez, 514 U.S. at 567. Further, the Gun-Free School Zones Act was

“not an essential part of a larger regulation of economic activity, in which the regulatory scheme

could be undercut unless the intrastate activity were regulated.” Id.

          Similarly, in Morrison, the Supreme Court concluded that the civil remedy for gender-

motivated violence under Violence Against Women Act was a regulation of noneconomic activity

that exceeded Congress’s commerce authority. 529 U.S. at 617. Even though the VAWA was

enacted with the support of significant congressional findings regarding the “nationwide,

aggregated impact” of gender-motivated violence on interstate commerce, the Court “reject[ed]

the argument that Congress may regulate noneconomic, violent criminal conduct based solely on

that conduct’s aggregate effect on interstate commerce.” Id. at 617. The “noneconomic, criminal

nature of the conduct at issue was central” to the Lopez and Morrison rulings. Morrison, 529 U.S.

at 610.

          In contrast to Lopez and Morrison, in Gonzales v. Raich, the Supreme Court upheld a

federal law prohibiting the intrastate cultivation of marijuana for personal use because the law

formed an “essential part” of the Controlled Substances Act (CSA), which encompassed “a larger

regulation of economic activity.” 545 U.S. 1, 24-25 (2005) (quoting Lopez, 514 U.S. at 561). The


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majority observed that the “primary purpose” of the CSA is “to control the supply and demand of

controlled substances in both lawful and unlawful drug markets.” Raich, 545 U.S. at 19.

Understood within that larger framework, the challenged provision was a regulation on “economic

activity” because “failure to regulate the intrastate manufacture and possession of marijuana would

leave a gaping hole in the CSA.” Id. at 22.

        As with the statutes under consideration in Lopez and Morrison, the activity regulated by

§ 231(a)(3) is noneconomic for purposes of the first Morrison factor. The gravamen of § 231(a)(3)

criminalizes obstruction, interference, and impeding state officers, with no direct connection to

commerce or economic activity. And, unlike in Raich, § 231(a)(3) is not part of any larger body

of economic regulation; it involves “a brief, single-subject statute[,]” which “by its terms has

nothing to do with commerce or any sort of economic enterprise, however broadly one might

define those terms.” Raich, 545 U.S. at 23-24 (distinguishing Lopez, 514 U.S. at 561) (internal

quotation marks omitted); accord Morrison, 529 U.S. at 613 (“Gender-motivated crimes of

violence are not, in any sense of the phrase, economic activity”).

                2.      The Jurisdictional Element Of § 231(a)(3) Does Not Limit The Law’s Reach
                        To Activities That Substantially Affect Interstate Commerce

        Although § 231(a)(3) contains a commercial nexus element, the element is faulty because

it does not limit the reach of the statute to activities that “substantially affect” interstate commerce.

There are several problems under the second Morrison factor on limitations to the statue’s reach.

        First, the commercial nexus element is not connected to the “any act” element. Section

231(a)(3) makes it a crime to:

        commit any act to obstruct, impede, or interfere with any fireman or law
        enforcement officer lawfully engaged in the lawful performance of his official
        duties incident to and during the commission of a civil disorder which in any way


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        or degree obstructs, delays, or adversely affects commerce or the movement of any
        article or commodity in commerce.

(Emphasis added). The commercial nexus clause unambiguously modifies the term “civil

disorder,” not “any act.” Thus, a charge under § 231(a)(3) need not be supported by evidence that

a defendant’s act impacted interstate commerce. Instead, it requires evidence only that the act

interfered with an officer engaged in the performance of duties “incident to and during the

commission of a civil disorder,” and that the civil disorder, not the individual’s act, minimally

affected commerce.

        The statutory “incident to and during” connector further diminishes any required link to

interstate commerce. Although the statute does not make clear whether the connector applies to

the act itself or to the lawful performance of official duties, either construction places the interstate

commerce element another step removed from the regulated activity. The term “incident” as an

adjective connotes a degree of separation, in that one occurrence of lesser importance is

“[d]ependent on, subordinate to, arising out of, or otherwise connected with (something else, usu.

of greater importance).” INCIDENT, BLACK’S LAW DICTIONARY (11th ed. 2019). Activity with

only an incidental connection to an event that affects commerce is not a permissible subject of

federal criminal law.

        Finally, the commercial nexus element of § 231(a)(3) does not require a substantial effect

on interstate commerce, but instead requires a civil disorder that affects commerce “in any way or

degree.” The terms are virtual opposites. Substantial means “[c]onsiderable in extent, amount, or

value,” whereas the word “any” is expansive and unqualified. Compare SUBSTANTIAL,

BLACK’S LAW DICTIONARY (11th ed. 2019) with ANY, BLACK’S LAW DICTIONARY (11th ed.

2019); see St. Paul Fire & Marine Ins. Co. v. Barry, 438 U.S. 531, 550 (1978) (statutory language


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that covered “‘any’ act” was “broad and unqualified”). An “any way or degree” impact on

commerce is not a “substantial” impact.10 The second Morrison factor is not satisfied.

               3.      Congress Did Not Find That The Activities Regulated Under § 231(a)(3)
                       Substantially Affect Interstate Commerce.

       Formal congressional findings are neither required nor sufficient to establish a valid

exercise of federal commerce authority. Lopez, 514 U.S. at 562-63; Morrison, 529 U.S. at 614.

Congressional findings may demonstrate that an activity “substantially affects interstate

commerce, even though no such substantial effect [is] visible to the naked eye.” Lopez, 514 U.S.

at 563. But “the existence of congressional findings is not sufficient” when Congress merely offers

a “but-for causal chain from the initial occurrence of violent crime . . . to every attenuated effect

upon interstate commerce.” Morrison, 529 U.S. at 615

       Here, Congress made no findings to establish that the activity regulated by § 231(a)(3)

substantially affects interstate commerce beyond any impact “visible to the naked eye.” The only

potentially relevant findings relate to the impact of “riots” on interstate commerce. See Exhibit A

at 8-9 (114 Cong. Rec. 1294-95 (Jan. 29, 1968)). Upon first proposing the Civil Obedience Act,

Senator Long stated certain facts, without citation, concerning what he called the “wholesale Negro



       10
          Although the Hobbs Act includes “in any way or degree” language, the Ninth Circuit has
upheld this language only because “the Hobbs Act is directly aimed at economic activities” that
themselves “affect[] commerce.” United States v. Atcheson, 94 F.3d 1237, 1242 (9th Cir. 1996).
Regulations on direct commercial impacts need not “substantially affect commerce to pass
constitutional muster” because an activity with a de minimis impact on commerce will have the
required substantial effect “through repetition” and “in aggregate.” Id. (quoting United States v.
Bolton, 68 F.3d 396 (10th Cir. 1995)). Such direct commercial impacts place activities such as
Hobbs Act robbery under the first or second Lopez categories. By contrast, under § 231(a)(3), the
language of “in any way or degree” attaches not to the offense conduct, but to the incidental
occurrence of a civil disorder. In the context of such an indirect impact, the language of “in any
way or degree” fails the third Lopez category requiring a substantial effect.


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violence,” which he said “was an almost nightly affair in the streets of our cities” between 1965

and 1967. Id. at 9 (114 Cong. Rec. 1295). For example, he said:

       In [1967], nearly 100 people were killed. Nearly 2,000 were injured. Police reported
       4,289 cases of arson alone. Over 16,000 rioters were arrested. The estimated
       property loss was in the neighborhood of $160 million. The estimated economic
       loss to riot-torn businesses was $504 million.

Id. Senator Long asserted that these “riots” impeded interstate commerce:

       Any riot, as we know and experience them today, generally does impede the flow
       of goods in interstate commerce. It stops the movement of people in interstate
       commerce. It interferes with the goods that were intended to move in interstate
       commerce.

Exhibit B at 5-6 (114 Cong. Rec. 5535-36 (Mar. 6, 1968)).

       But the statutory definition of “civil disorder” involving “acts of violence by assemblages

of three or more persons” (18 U.S.C. § 232(1)) has no connection to riots on the scale described

by Senator Long. Moreover, § 231(a)(3) does not target the destructive behavior attendant to a

riot; the criminalized conduct is interference with an official’s duties “incident to and during” a

civil disorder. The congressional record contains no findings that individual interference with

police and firefighters as defined under § 231(a)(3) substantially affects interstate commerce. The

third Morrison factor is not satisfied.

               4.      The Relationship Between The Activity Regulated Under § 231(a)(3) And
                       Any Effect On Interstate Commerce Is Too Attenuated.

       Any causal chain that could link the activity proscribed under § 231(a)(3) to any substantial

impact on interstate commerce is too far attenuated to place the activity within reach of Congress’

commerce authority. The offense conduct of § 231(a)(3) need not affect commerce directly. It

suffices to establish that a person’s acts interfered with an official’s duties performed “incident to

and during” any “civil disorder” that, in turn, affects commerce. Such an “incidental effect on


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interstate commerce . . . does not warrant federal intervention.” Musick v. Burke, 913 F.2d 1390,

1397 (9th Cir. 1990). The noneconomic conduct penalized by § 231 by definition is too attenuated

to satisfy the “substantially affects” test for commercial impact.

       Even if interference with police and firefighters under § 231(a)(3) could affect commerce

in the aggregate, when considered on a nationwide scale, that would be insufficient to place those

acts within the federal commerce authority. In Morrison, the Supreme Court “reject[ed] the

argument that Congress may regulate noneconomic, violent criminal conduct based solely on that

conduct’s aggregate effect on interstate commerce.” 529 U.S. at 617. Here, the paucity of cases

prosecuted under § 231(a)(3) further negates any claim of an aggregate effect.

       In sum, the four Morrison factors demonstrate that § 231(a)(3) regulates purely local,

noneconomic activities that do not “substantially affect” interstate commerce. As a result,

§ 231(a)(3) falls outside of Congress’s power to regulate under the Commerce Clause.

       C.      Section 231(a)(3)’s Lack Of Substantial Affect On Interstate Commerce
               Requires Dismissal Of The Indictment.

       The commercial nexus language of § 231(a)(3) reaches hopelessly beyond the bounds of

Congress’ commerce authority. Dismissal of the indictment is the required remedy. Although

ambiguity can be resolved by construction, § 231(a)(3)’s lack of commercial nexus is not

ambiguous. The statute plainly applies to noneconomic interference with state and local officers;

the only required impact on interstate commerce is indirect through the existence of a “civil

disorder”; and the law’s “in any way or degree” language is inconsistent with requiring a

“substantial” impact on interstate commerce. “The Court cannot rewrite a law to conform it to

constitutional requirements, for doing so would constitute a serious invasion of the legislative

domain and sharply diminish Congress’s incentive to draft a narrowly tailored law in the first


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place.” United States v. Stevens, 559 U.S. 460, 481 (2010); see Nat'l Ass'n of Mfrs. v. Dep't of Def.,

138 S. Ct. 617, 629 (2018) (courts are “not free to ‘rewrite the statute’ to the Government's liking.”)

(citing Puerto Rico v. Franklin Cal. Tax-Free Trust, 136 S. Ct.1938, 1949 (2016)). Section

231(a)(3) unconstitutionally intrudes upon State prerogatives, and no reasonable interpretation of

the statute can avoid that constitutional problem.

II.     Section 231(a)(3) Violates The First Amendment By Placing A Significant Burden On
        Expressive Conduct For The Impermissible Purpose Of Suppressing Messages And
        Viewpoints Associated With The Civil Rights Movement.

        Section 231(a)(3) violates the First Amendment in two ways. First, § 231(a)(3) is a

substantially overbroad regulation of protected expression because it imposes steep criminal

penalties on an expansive range of speech and expressive conduct. Second, § 231(a)(3) was

enacted for the express legislative purpose of suppressing the content of messages favoring civil

rights advocacy, and the statute’s content-based text and purpose fail strict scrutiny. The statute’s

unconstitutionality requires dismissal of the indictment.

        A.      Because § 231(a)(3) Burdens A Substantial Amount Of Constitutionally
                Protected Expression In Relation To Its Legitimate Sweep, The Statute Is
                Invalid Under The First Amendment.

        “In the First Amendment context, . . . a law may be invalidated as overbroad if ‘a

substantial number of its applications are unconstitutional, judged in relation to the statute’s plainly

legitimate sweep.’” Stevens, 559 U.S. at 473. The First Amendment protects expressive conduct

like cross-burning, flag-burning, and assembly in inconvenient places. See Virginia v. Black, 538

U.S. 343, 365-66 (2003) (“[S]ometimes the cross burning is a statement of ideology, a symbol of

group solidarity”); Texas v. Johnson, 491 U.S. 397, 405-06 (1989) (flag burning constituted

“expressive conduct” protected by the First Amendment); Clark v. Cmty. for Creative Non-

Violence, 468 U.S. 288, 293 (1984) (assuming that “sleeping in connection with the demonstration

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is expressive conduct protected to some extent by the First Amendment.”). Conduct is expressive

under the First Amendment when it “is intended to convey a ‘particularized message’ and the

likelihood is great that the message would be so understood.” Knox v. Brnovich, 907 F.3d 1167,

1181 (9th Cir. 2018) (quoting Nunez v. Davis, 169 F.3d 1222, 1226 (9th Cir. 1999)).

       Section 231(a)(3) extends to a substantial amount of constitutionally protected speech and

expressive conduct in excess of the law’s legitimate sweep. Such broad criminal statutes like

§ 231(a)(3) “must be scrutinized with particular care.” City of Houston v. Hill, 482 U.S. 451, 459

(1987); see also Winters v. New York, 333 U.S. 507, 515 (1948) (“The standards of certainty in

statutes punishing for offenses is higher than in those depending primarily upon civil sanction for

enforcement.”). Criminal laws that “make unlawful a substantial amount of constitutionally

protected conduct may be held facially invalid even if they also have legitimate application.” Id.

Several of the statute’s terms are left so broad and indefinite as to impose unqualified burdens on

a range of protected expression.

       First, by penalizing “any act,” § 231(a)(3) reaches to the outer limits of verbal and

expressive conduct without drawing any distinction that could exclude acts undertaken merely to

convey a message or symbolic content. Roy v. City of Monroe, 950 F.3d 245, 252 (5th Cir. 2020)

(acknowledging that “[s]tanding alone . . . a prohibition on ‘any act [undertaken] in such a manner

as to disturb or alarm the public’ fails meaningfully to guide the police and thus poses a substantial

risk of arbitrary or discriminatory enforcement.”)

       Second, § 231(a)(3) imposes a substantial burden on protected expression by requiring that

“any act . . . obstruct, impede, or interfere with any fireman or law enforcement officer lawfully

engaged in the lawful performance of his official duties.” The term “interfere,” which the statute

leaves undefined, reaches a broad range of speech and expressive conduct. The law’s author

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acknowledged this when, in a Senate hearing two days after he introduced the Civil Obedience

Act, he criticized the term “interference” as used in the hate crime law by asking whether “almost

anything could be regarded as an interference?” Exhibit D at 3 (114 Cong. Rec. 1819 (Feb. 1,

1968) (Sen. Long)). In the context of § 231(a)(3), Senator Long’s interpretation of “interference”

rings true because “there are numerous examples in which a person’s speech could interfere with

. . . a police officer in the lawful discharge of the officer’s duties.” McCoy v. City of Columbia,

929 F. Supp. 2d 541, 550 (D.S.C. 2013) (invalidating a state statute for overbreadth that made it

“unlawful for any person to interfere with or molest a police officer in the lawful discharge of his

duties.”).

        Indeed, § 231(a)(3) authorizes a felony conviction for a bystander who yells at police to

desist from an arrest, one who flips off officers to distract or to encourage resistance, or one who

records police activity with a cell phone. Hill, 482 U.S. at 459 (“[W]e have repeatedly invalidated

laws that provide the police with unfettered discretion to arrest individuals for words or conduct

that annoy or offend them.”); Glik v. Cunniffe, 655 F.3d 78, 83 (1st Cir. 2011) (“[T]he First

Amendment protects the filming of government officials in public spaces.”). The First Amendment

does not permit such an unqualified prohibition on “interference” with police duties because “the

freedom of individuals verbally to oppose or challenge police action without thereby risking arrest

is one of the principal characteristics by which we distinguish a free nation from a police state”

Hill, 482 U.S. at 462–63 (1987)

        Third, the term “civil disorder,” as defined under § 232(1), is extremely far-reaching,

applying to “any public disturbance involving acts of violence by assemblages of three or more

persons, which causes an immediate danger of . . . injury to the property.” Rather than limiting the

statute, § 231(a)(3)’s language reaches “any public disturbance” in the types of traditional public

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fora where First Amendment protections are at their zenith. Long Beach Area Peace Network v.

City of Long Beach, 574 F.3d 1011, 1022 (9th Cir.2009) (“In traditional public fora . . . First

Amendment protections are strongest, and regulation is most suspect.”).

       Moreover, the “civil disorder” definition sweeps broadly to cover incidents in which three

or more persons cause an immediate danger of injury to persons or property. 18 U.S.C. § 232(1).

The definition can just as easily be met by a violent mob of thousands as it can by the ejection of

several unruly individuals from a bar, concert, or sporting event, or even by three teenagers whose

skateboarding damages property. Finally, to be convicted under § 231(a)(3), a person’s

interference with police duties must merely occur “incident to and during” the civil disorder, and

it need not be shown that the defendant incited the civil disorder or engaged in “acts of violence”

that the civil disorder “involves.” The term “civil disorder” fails to limit the overbreadth of

penalizing “any act” of interference with police duties.

       Under the far-reaching terms of § 231(a)(3), “a substantial number of its applications are

unconstitutional, judged in relation to the statute’s plainly legitimate sweep.’” Stevens, 559 U.S.

460 at 473. The terms of § 231(a)(3) do not permit rewriting the statute to limit its application to

only those categories of activity that do not fall under the protections of the First Amendment.11



       11
           The few out-of-Circuit cases purporting to construe § 231(a)(3) preceded Supreme Court
authority on expressive conduct, judicial rewriting of statutes, and other relevant constitutional
precedent. See United States v. Mechanic, 454 F.2d 849, 853-54 (8th Cir. 1971); United States v.
Hoffman, 334 F. Supp. 504 (D. Col. 1971). And Mechanic depended on a case from 1969 in which
the statute’s constitutionality was conceded. 454 F.2d at 852 (citing Nat’l Mobilization Comm. to
End War in Viet Nam v. Foran, 411 F.2d 934, 937 (7th Cir. 1969) (“The plaintiffs appear to have
conceded the constitutionality of Section 231(a) (3), for it was not attacked in their brief or oral
argument.”)). Under the party presentation principle, decisions involving parties who did not raise
the relevant legal questions have no persuasive effect. Greenlaw v. United States, 554 U.S. 237,
243 (2008) (“[W]e rely on the parties to frame the issues for decision and assign to courts the role
of neutral arbiter of matters the parties present.”); see Webster v. Fall, 266 U.S. 507, 511 (1925)

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In light of this unambiguously broad language of “any act,” “to obstruct, impede, or interfere,” and

“civil disorder,” “[t]he Court cannot rewrite a law to conform it to constitutional requirements, for

doing so would constitute a serious invasion of the legislative domain, and sharply diminish

Congress’s incentive to draft a narrowly tailored law in the first place.” Stevens, 559 U.S. at 481.

Section 231(a)(3) is hopelessly overbroad and invalid.

        B.      Section 231(a)(3) Regulates The Content Of Protected Expression Without A
                Permissible Justification.

        The broad language of the statute and its purpose to target certain speech and political

movements for civil rights invalidates the statute under the First Amendment.

                1.     The First Amendment Requires Strict Scrutiny Of Content-Based And
                       Viewpoint-Based Regulations Of Speech And Expressive Conduct

        “[A]bove all else, the First Amendment means that government has no power to restrict

expression because of its message, its ideas, its subject matter, or its content.” Police Dept. of

Chicago v. Mosley, 408 U.S. 92, 95 (1972). “Government regulation of speech is content based if

a law applies to particular speech because of the topic discussed or the idea or message expressed.”

Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015). “When the government restricts speech

based on its content, a court will subject the restriction to strict scrutiny.” In re Nat’l Sec. Letter,

863 F.3d 1110, 1121 (9th Cir. 2017) (citing Reed, 576 U.S. at 162). “A speech regulation targeted

at specific subject matter is content-based even if it does not discriminate among viewpoints within

that subject matter.” Reed, 576 U.S. at 169. By contrast, viewpoint discrimination is a “more

blatant” and “egregious form of content discrimination” which “targets not subject matter, but




(“Questions which merely lurk in the record, neither brought to the attention of the court nor ruled
upon, are not to be considered as having been so decided as to constitute precedents.”).


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particular views taken by speakers on a subject.” Rosenberger v. Rector & Visitors of Univ. of

Virginia, 515 U.S. 819, 829 (1995).

       In Reed, the Supreme Court clarified that “strict scrutiny applies either when a law is

content based on its face or when the purpose and justification for the law are content based.” 576

U.S. at 166. Before concluding that a law is content-neutral, Reed requires a court to inquire

separately into the law’s text and purpose. The two-step test asks (1) “whether the law is content

neutral on its face”; and (2) whether “the purpose and justification for the law are content based.”

Id. at 165-166. A court “must evaluate each question before it concludes that the law is content

neutral and thus subject to a lower level of scrutiny.” Id. at 166. “The government’s purpose is the

controlling consideration” in determining content-neutrality. Ward v. Rock Against Racism, 491

U.S. 781, 791 (1989).

               2.       On Its Face, § 231(a)(3) Regulates The Content Of Protected Expression.

       The “first step in the content-neutrality analysis” is “determining whether a law is content

neutral on its face.” Reed, 576 U.S. at 165. By its own sweeping terms, § 231(a)(3) authorizes

criminal penalties for “any act” of speech or expressive conduct intended merely to “interfere

with,” that is, to criticize or challenge the manner in which police officers discharge their duties.

In Hill, the Supreme Court considered a First Amendment overbreadth challenge to a law that

similarly made it a crime to “in any manner oppose, molest, abuse or interrupt any policeman in

the execution of his duty.” 482 U.S. at 455. The defendant in Hill shouted at police officers in an

admitted attempt to divert the officer away from a friend. Id. at 453-43. The Court concluded that

the statute reached “verbal criticism and challenge directed at police officers,” id. at 461,




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conferring authority on those officers “to make arrests selectively on the basis of the content of the

speech,” id. at 465 n.15 (emphasis added).

       In McCoy, the district court relied on Hill’s reasoning to invalidate a law even more similar

to § 231(a)(3). 929 F. Supp. 2d at 551. The city ordinance at issue made it “unlawful for any person

to interfere with or molest a police officer in the lawful discharge of his duties.” Id. at 546. The

court’s holding was based on vagueness and overbreadth: the law was not limited to “physical

interference or molestation” because those terms were left undefined. Id. at 549 (emphasis in

original). Thus, as in Hill, the court found the ordinance permitted police to “make arrests

selectively on the basis of the content of the speech[.]” Id. at 551 (internal quotation marks omitted)

(quoting Hill, 482 U.S. at 465 n.15).

       As in Hill and McCoy, § 231(a)(3) singles out forms of expression that contain messages

that criticize, challenge, insult, or object to the actions of law enforcement officers. Thus, it is a

content-based speech regulation. Reed, 576 U.S. at 163. The statute’s terms “any act” and

“interfere” are left unqualified and undefined, thereby allowing arrest and prosecution of one

whose words have sufficiently provoked the anger of a police officer so as to even briefly

“interfere” with his duties. In that way, § 231(a)(3) restricts speech “based on the message the

speaker conveys[.]” Reed, 576 U.S. at 163.

               3.      Even If § 231(a)(3) Were Content-Neutral On Its Face, Its Legislative
                       History Reveals A Content-Based Purpose.

       The First Amendment generally prevents the government from proscribing speech and

expressive conduct because of disapproval of ideas, like those animating the civil rights movement.

See R.A.V. v. City of St. Paul, Minn., 505 U.S. 377, 382 (1992) (“The First Amendment generally

prevents government from proscribing speech or even expressive conduct because of disapproval


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of the ideas expressed.”). The Supreme Court in Reed recognized a “category of laws that, though

facially content neutral, will be considered content-based regulations of speech” by virtue of

having been “adopted by the government ‘because of disagreement with the message [the speech]

conveys.’” Reed, 576 U.S. at 164 (quoting Ward, 491 U.S. at 791). The First Amendment therefore

requires courts to inspect a law’s legislative background for “animus toward the ideas” regulated.

Id. at 165. If the law was “adopted by the government ‘because of disagreement with the message

[the speech] conveys,” then, “like those [laws] that are content based on their face, [it] must also

satisfy strict scrutiny.” Id. at 164-65 (quoting Ward, 491 U.S. at 791). Section 231(a)(3)’s content-

based purpose brings it within that category of laws.

       The legislative history of § 231(a)(3) shows that it was enacted to suppress messages in

support of civil rights and racial justice for Black Americans. During hearings, Senator Long

explained the law’s content-based purpose clearly and repeatedly. Exhibits A-D. He intended his

amendment to nullify constitutional protections that the civil rights bill’s hate crime provision

promised to extend to Black Americans who speak out about racial injustice. Exhibit A at 1-8 (114

Cong. Rec. 1287-1294 (Jan. 29, 1968)). It was Dr. Martin Luther King Jr., Senator Long argued,

whose “inflammatory letter” from the Birmingham jail, had “in large measure brought on all these

riots and presented the need for action.” Id. at 8 (114 Cong. Rec. 1294). Any message in support

of civil rights for Black Americans was liable, in Senator Long’s estimation, to incite a riot. As a

solution, the Civil Obedience Act would deter individuals from “stirring up our fine citizens . . .

and giving the wrong idea that everyone is trying to do something evil to them because they are of

a different race,” Exhibit C at 1 (114 Cong. Rec. 544 (Jan. 22, 1968)), and from “accusing all the

American people of being a bunch of murderers and assassins” or “international criminals, which

we are not,” Exhibit D at 1 (114 Cong. Rec. 1817 (Feb. 1, 1968)).

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        Senator Long’s articulated purpose is inconsistent with the “freedoms guaranteed by the

First and Fourteenth Amendments” because the targeted speech is not “directed to inciting or

producing imminent lawless action and is [not] likely to incite or produce such action.”

Brandenburg v. Ohio, 395 U.S. 444, 448 (1969). In NAACP v. Claiborne Hardware Co., the Court

recognized constitutional protections for associational speech aimed at collective action. 458 U.S.

886, 907-08 (1982). Claiborne involved a civil injunction brought by white merchants against the

NAACP for a business boycott to achieve equal treatment of Black patrons. The state court had

upheld judgment against the NAACP based in part on threatening statements and violent acts by

individual boycotters. But the Supreme Court reversed, articulating broad protection for speech

intended to create social pressure. “[S]peech does not lose its protected character . . . simply

because it may embarrass others or coerce them into action.” Claiborne, 458 U.S. at 909-10. Citing

Brandenburg, the Court approved protection for “[s]trong and effective extemporaneous rhetoric,”

and dismissed liability for acts of violence “weeks or months” after the speech in question. Id. at

928. Senator Long’s dragnet effort to address riots by suppressing civil rights advocacy does not

comport with Claiborne: “The right to associate does not lose all constitutional protection merely

because some members of the group may have participated in conduct or advocated doctrine that

itself is not protected.” Id. at 908.

        Senator Long’s stated justifications for his legislation were aimed at suppressing the

content of expression related to civil rights and racial justice. He singled out specific messages for

punishment “because of disagreement with the message [the speech] conveys.’” Reed, 576 U.S. at

164 (quoting Ward, 491 U.S. at 791). By singling out specific ideas and speakers as targets for his

legislation, Senator Long’s statements also reflected both a content-discriminatory and a

viewpoint-discriminatory purpose. “When the government targets not subject matter, but particular

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views taken by speakers on a subject, the violation of the First Amendment is all the more blatant.”

Rosenberger, 515 U.S. at 829. Viewpoint-based restrictions generally fail judicial scrutiny because

they “rais[e] the specter that the Government may effectively drive certain ideas or viewpoints

from the marketplace.” Simon & Schuster, Inc. v. State Crime Victims Bd., 502 U.S. 105, 116

(1991).

                 4.      Section 231(a)(3) Fails Under Strict Scrutiny Because The Burdens It
                         Imposes On Protected Expression Are Only Remotely Connected To Any
                         Potential Federal Interest.

          If this Court concludes that § 231(a)(3) is content-based on its face or in its legislative

purpose, then strict scrutiny applies. Reed, 576 U.S. at 163-164. To overcome strict scrutiny, the

government has the burden of proving “that the restriction furthers a compelling interest and is

narrowly tailored to achieve that interest.” Reed, 576 U.S. at 171. Section 231(a)(3) cannot survive

strict scrutiny because the relevant federal interest is remote and the statutory language lacks

narrow tailoring.

          First, the federal government’s interest in prosecuting “any act” of interference with the

duties of non-federal public officials is not readily apparent. Although the law anemically invokes

an interstate commerce nexus, the intrastate noneconomic activities that the law targets are wholly

attenuated from interstate commerce. State and local laws amply protect police officers and

firefighters from public obstruction in the circumstances covered by § 231(a)(3). It is these local

jurisdictions, not the federal government, to which the Tenth Amendment reserves the right to

enact such laws. Accordingly, there is no federal interest in regulating the content of expression

targeted under § 231(a)(3).

          Second, no government interest can support the broad scope of § 231(a)(3). The terms of

§ 231(a)(3) could extend felony criminal liability to challenges and criticism directed at police

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officers over the course of routine intrastate conflicts. By contrast, the federal law that punishes

interference with federal, rather than local law enforcement officers, applies narrowly to forceful

acts and can be charged as a misdemeanor. 18 U.S.C. § 111(a). The comparative lack of narrow

tailoring in the language of § 231(a)(3) shows that the law was meant to burden expression rather

than serve a compelling government interest. Under strict scrutiny, no compelling governmental

interest that arises under § 231(a)(3) can justify its impermissible purpose and its weighty burden

on protected expression..

III.   Section 231(a)(3) Is Unconstitutionally Vague In Violation Of The Due Process Clause
       Because It Chills Protected Speech, Provides Inadequate Notice Of Criminal
       Conduct, And Invites Arbitrary And Discriminatory Enforcement And Prosecution.

       “The prohibition of vagueness in criminal statutes ‘is a well-recognized requirement,

consonant alike with ordinary notions of fair play and the settled rules of law,’ and a statute that

flouts it ‘violates the first essential of due process.’” Johnson v. United States, 576 U.S. 591, 595

(2016) (quoting Connally v. General Constr. Co., 269 U.S. 385, 391 (1926)). A criminal statute

runs afoul of the Due Process Clause for its vagueness when it (1) fails to provide sufficient notice

that would enable ordinary people to understand what conduct it prohibits; or (2) encourages

arbitrary and discriminatory enforcement. Grayned v. City of Rockford, 408 U.S. 104, 108-09

(1972); United States v. Coutchavlis, 260 F.3d 1149, 1155 (9th Cir. 2001).

       Vagueness concerns are most acute when the statute imposes criminal penalties and

implicates the First Amendment by chilling exercise of protected expression. Kolender v. Lawson,

461 U.S. 352, 358-59 n.8 (1983); Village of Hoffman Estates v. Flipside, 455 U.S. 489, 498-99

(1982); see Smith v. Goguen, 415 U.S. 566, 573 (1974) (Where “a statute’s literal scope [reaches]

expression sheltered by the First Amendment, the [vagueness] doctrine demands a greater degree

of specificity than in other contexts.”).

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       A.      Section 231(a)(3)’s Imprecise And Subjective Standards Fail To Provide Fair
               Notice And Risk Arbitrary Enforcement.

       Section 231(a)(3) fails the core tests for satisfying the certainty requirements of the Due

Process Clause. First, it is replete with vague and imprecise terms that fail to provide a person of

ordinary intelligence a reasonable opportunity to know what is prohibited:

              “any act” can include pure speech, expressive conduct, minimal jostling, and
               grievous assaults;

              “to obstruct, impede, or interfere” leaves uncertainty as to whether it defines a
               culpable mens rea or a required result and, additionally, offers no objective limit
               requiring, for example, forcible interference or assault, cf. 18 U.S.C. § 111(a);

              “incident to and during the commission of a civil disorder” leaves the degree of
               connection with a “civil disorder” unclear and fails to state whether the defendant
               must have participated in the civil disorder;

              “in any way obstructs, delays, or adversely affects commerce” provides no
               limiting concept for what it means to obstruct, delay, or adversely affect commerce.

The corresponding definition of “civil disorder” in § 232(1) offers no limitation to solve the

vagueness problem because it could apply to virtually any tumultuous public gathering to which

police might be called, not just large-scale riots.

       In Johnson, the Court found the residual clause of the Armed Career Criminal Act vague

because the statute failed to provide guidance to establish the “substantial risk” created by the

“ordinary case” of a crime. 576 U.S at 597; accord United States v. Davis, 139 S. Ct. 2319, 2326

(2019) (compounded uncertainty regarding assessment of risk and ordinary case); Dimaya v.

Sessions, 138 S. Ct. 1204, 1213-14 (2018) (same). Section 231(a)(3) involves a similar compound

structure, setting out “any act” as “incident to or during” a separately described “civil disorder”

with no clearly articulated nexus.




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        Notably, § 231(a)(3) provides no express mens rea at all, leaving police, prosecutors, and

judges to decide whether the statute requires knowledge (and if so, of what) or specific intent (and

if so, to do what) or neither. A statute’s constitutionality under the vagueness doctrine is “closely

related” to whether it contains an express mens rea requirement. See Colautti v. Franklin, 439 U.S.

379, 395 (1979) (“Because of the absence of a scienter requirement in the provision . . . the statute

is little more than ‘a trap for those who act in good faith.’”) (quoting United States v. Ragen, 314

U.S. 513, 524 (1942)).

        The statute is also prone to vagueness challenge because its terms are dependent on the

subjective reaction of others, rather than the acts and intent of the defendant. In United States v. L.

Cohen Grocery Co., 255 U.S. 81 (1921), for example, the Court held that a prohibition on “unjust

or unreasonable rate[s] or charge[s]” was unconstitutionally vague because assessment of whether

charges were “unjust or unreasonable” was left entirely to the “estimation of the court and jury.”

Id. at 89. The Court likewise struck down an ordinance that criminalized behaving in a manner

“annoying to persons passing by.” Coates v. City of Cincinnati, 402 U.S. 611, 612 (1971). Because

“[c]onduct that annoys some people does not annoy others,” the ordinance did not “specif[y] any

“standard of conduct . . . at all.” Id. at 614. And in City of Chicago v. Morales, 527 U.S. 41 (1999),

the Court invalidated a statute that prohibited loitering “with no apparent purpose,” because it

improperly left “‘it to the courts to step inside and say who could be rightfully detained, and who

should be set at large.’” Id. at 60 (quoting United States v. Reese, 92 U.S. 214, 221 (1876)).

        Here, § 231(a)(3) triggers criminal liability based on the reactions of others in two ways.

First, it asks whether the defendant’s conduct interferes with or impedes others. A gesture, sign,

or other act that distracts one officer could have no impact at all another officer. Second, the statute

asks whether the defendant’s act is “incident to and during” a civil disorder in which the defendant

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may have no involvement at all. These subjective standards leave it to the discretion of police and

prosecutors to determine whether a particular individual’s conduct runs afoul of the law.

        By enacting subsection 3 of the Civil Obedience Act, Congress created “a criminal

prohibition of alarming breadth.” Stevens, 559 U.S. at 474. The “very existence” of statutes like

§ 231(a)(3) is pernicious because it “may cause others not before the court to refrain from

constitutionally protected speech or expression.” Members of City Council of L.A. v. Taxpayers

for Vincent, 466 U.S. 789, 799 (1984). The mere “threat of enforcement of an overbroad law may

deter or ‘chill’ constitutionally protected speech,” “especially when the overbroad statute imposes

criminal sanctions.” Virginia v. Hicks, 539 U.S. 113, 119 (2003).

        As with the law at issue in McCoy, which made it unlawful “for any person to interfere

with or molest a police officer,” § 231(a)(3)’s vagueness chills protected speech. McCoy, 929 F.

Supp. 2d at 547-53. By expansively encompassing “any act” that could interfere with the duties of

a police officer or firefighter during a civil disorder, § 231(a)(3) is not limited to “violent acts” or

acts that result in bodily injury or that otherwise put persons or property in imminent danger. See

Brandenburg, 395 U.S. at 447 (“[T]he constitutional guarantees of free speech and free press do

not permit a State to forbid or proscribe advocacy of the use of force or of law violation except

where such advocacy is directed to inciting or producing imminent lawless action and is likely to

incite or produce such action.”). The statute does not weed out those acts with expressive content

or those that occur in a traditional public forum. Section 231(a)(3) reaches a substantial amount of

expressive conduct, and without clear boundaries, the law chills free speech.




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       B.      Section 231(a)(3) Cannot Be Saved By Construction Without Violating The
               Constitutional Separation Of Powers.

       A statute’s vagueness does not permit judges to “‘rewrite [the] . . . law to conform it to

constitutional requirements.’” Stevens, 559 U.S. at 481. “When Congress passes a vague law, the

role of courts under our Constitution is not to fashion a new, clearer law to take its place, but to

treat the law as a nullity and invite Congress to try again.” Davis, 139 S. Ct. at 2323. “Vague

statutes threaten to hand responsibility for defining crimes to relatively unaccountable police,

prosecutors, and judges, eroding the people’s ability to oversee the creation of the laws they are

expected to abide.” Id. at 2325. In the present case, the statute’s scope “may entirely depend” on a

law enforcement official’s unbounded speculation about subjective factors, Coates, 402 U.S. at

614, thus subjecting “individuals to the risk of arbitrary or discriminatory prosecution and

conviction,” United States v. Kozminski, 487 U.S. 931, 949-950 (1988) (holding statute

unconstitutionally vague where liability “depend[ed] entirely upon the victim’s state of mind”).

       It does not matter whether some conduct clearly falls within § 231(a)(3)’s reach. The

Supreme Court’s holdings “squarely contradict the theory that a vague provision is constitutional

merely because there is some conduct that clearly falls within the provision’s grasp.” Johnson, 576

U.S. at 602; accord Dimaya, 138 S. Ct. at 1214 n.3 (reaffirming this principle). Section 231(a)(3)

is not susceptible to construction that eliminates its many constitutional deficiencies without

judicial encroachment on the legislative function of defining criminal laws.

IV.    In The Alternative, The Indictment Should Be Dismissed Because Its Language
       Neither Provides Adequate Notice Nor Assures That The Grand Jury Made The
       Determinations Required By The Fifth Amendment.

       The constitutional rights to presentment to a grand jury and adequate notice of the charges

are embedded in the Fifth and Sixth Amendments to the Constitution and in Rule 7(c) of the


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Federal Rules of Criminal Procedure. In the present case, the government mass produced

indictments identical in language with the exception of names and dates of the offense. A review

of the cases filed under § 231(a)(3) reveals that none of the changes involve specificity regarding

the acts or circumstances other than conclusory allegations.

       “[R]eal notice of the true nature of the charge” is “the first and most universally recognized

requirement of due process.” Smith v. O’Grady, 312 U.S. 329, 334 (1941). In holding that the

notice requirements of the Sixth Amendment apply to the States through the requirement of due

process, the Supreme Court stated: “No principle of procedural due process is more clearly

established than that notice of the specific charge [is] among the constitutional rights of every

accused in a criminal proceeding in all courts, state or federal.” Cole v. Arkansas, 333 U.S. 196,

201 (1948); see Joseph Story, Commentaries on the Constitution, § 1779 (1833) (“[T]he indictment

must charge the time, and place, and nature, and circumstances, of the offense, with clearness and

certainty; so that the party may have full notice of the charge, and be able to make his defense with

all reasonable knowledge and ability.”).

       The Fifth Amendment’s presentment provision also requires that the facts be elucidated

sufficiently in the indictment so that the grand jury’s finding of probable cause can be ascertained

and to foreclose conviction based on any offense not found by the grand jury. See Stirone v. United

States, 361 U.S. 212, 215-162 (1960) (“[A]fter an indictment has been returned its charges may

not be broadened through amendment except by the grand jury itself.”). Without specificity of

charged conduct and circumstances, the court would be forced to “guess as to what was in the

minds of the grand jury at the time they returned the indictment[,]” which would “deprive the

defendant of a basic protection that the grand jury was designed to secure,” by allowing a defendant

to be convicted “on the basis of facts not found by, and perhaps not even presented to, the grand

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jury that indicted him.” United States v. Du Bo, 186 F.3d 1177, 1179 (9th Cir. 1999) (quoting

United States v. Keith, 605 F.2d 462, 464 (9th Cir. 1979) (citing Russell v. United States, 369 U.S.

749, 770 (1962)).

       The assembly line indictments in the present case fail to fulfill either the notice or

presentment requirements of the Fifth and Sixth Amendments. The indictments evidence no

attempt to fulfill the Rule 7(c) requirement of a “plain, concise, and definite written statement of

the essential facts constituting the offense charged.” The indictment’s only deviation from

duplicating the exact statutory language of § 231(a)(3) are the addition of “violent” to describe the

act and the charged mental states of “knowingly” and “for the intended purpose.” The indictment

does not include any description of the actual conduct or the specific circumstances involved.

Accordingly, the indictment does not demonstrate that the grand jury made the required finding of

probable cause, and it provides the defense no notice regarding the conduct charged.

Conclusion

       For the foregoing reasons, the indictment should be dismissed.

       Respectfully submitted this 22nd day of February, 2021.


                                              /s/ Conor Huseby
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                                              /s/ Stephen R. Sady
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                              CERTIFICATE OF COMPLIANCE

       This brief complies with the applicable word-count limitation under LR 7-2(b), 26-3(b),

54-1(c), or 54-3(e) because it contains 10,894 words, including headings, footnotes, and

quotations, but excluding the caption, table of contents, table of cases and authorities, signature

block, exhibits, and any certificates of counsel.

       Dated February 22, 2021.


                                              /s/ Conor Huseby
                                              Conor Huseby
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CERTIFICATE OF COMPLIANCE
